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1    DAVID P. REINER, II; Fla. Bar. No. 416400
     Reiner & Reiner, P.A.
2
     9100 S. Dadeland Blvd., Suite 901
3    Miami, Florida 33156
     Phone: (305) 670-8282; Fax (305) 670-8989
4    eservice@reinerslaw.com; efile@reinerslaw.com
5    Attorney for JOSEPH WANAMAKER
6
     (Admitted Pro Hac Vice)

7
                                  UNITED STATES BANKRUPTCY COURT
8
                                  CENTRAL DISTRICT OF CALIFORNIA
9

10                                 SAN FERNANDO VALLEY DIVISION

11   In re: JOSEPH WANAMAKER,                          Case No.: 1:20-bk-10026-VK
12                  Debtor,                            [Chapter 7]
13
     _____________________________________             Adv. Case No.: 1:22-ap-01038-VK
14
     THE AFFILIATI NETWORK, LLC, a
15   Delaware Corporation, Previously known as,        DEFENDANT'S DISCLOSURES
     THE AFFILIATI NETWORK, INC., a                    PURSUANT TO FEDERAL RULE OF
16                                                     BANKRUPTCY PROCEDURE, RULE
     Florida Corporation, and SANJAY PALTA,
17   an individual                                     7026

18                  Plaintiffs,
19
     vs.
20
     JOSEPH WANAMAKER, an individual,
21
                    Defendant
22

23

24          Defendant, JOSEPH WANAMAKER, by and through undersigned counsel, hereby files
25   these disclosures pursuant to Fed. R. Bnkr. P. 7026 and Fed. R. Civ. P. 26(a)(1), and states:
26
     A.    INDIVIDUALS LIKELY TO HAVE DISCOVERABLE INFORMATION
27
           Pursuant to Fed. R. Civ. P. 26(a)(1)(A)(i), the following individuals may have
28
     discoverable information that the Defendant may use to support his defenses:

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1           1.      JOE WANAMAKER
                    c/o REINER & REINER, P.A.
2
                    9100 South Dadeland Boulevard, Suite 901
3                   Miami, Florida 33156-7815
                    Phone: (305) 670-8282; Facsimile: (305) 670-8989
4
            Joe Wanamaker is the Debtor in the Bankruptcy case and the Defendant in this adversary
5

6    action. He has knowledge of the claims presented in the Complaint, the business and business

7    practices of the Plaintiffs, the I/O and Terms and Conditions which governed the relationship
8
     between the Plaintiff and the Defendant, all aspects of the litigation in Florida which gave rise the
9
     Plaintiffs’ claims against him and the fraud investigation launched by San Diego law enforcement
10
     and the San Diego District Attorney’s office regarding the Plaintiffs’ illegal business practices
11

12   which also gave rise to litigation in Florida. Mr. Wanamaker has discoverable information

13   regarding fraudulent or unethical marketing practices by Affiliati, Sonny Palta and their
14
     publishers which caused Fitcrew and, consequently the Debtor, to become insolvent. Mr.
15
     Wanamaker has knowledge of his business practices, including the interplay between advertising,
16
     marketing, sales, merchant services and fulfillment. Mr. Wanamaker has knowledge of loans
17

18   and/or private mortgages he took out from Third-Parties to purchase a home and fund litigation

19   defense and loans he repaid, as well has his personal financial information.
20
            2.      CHRISTINE NAUD
21                  c/o REINER & REINER, P.A.
                    9100 South Dadeland Boulevard, Suite 901
22                  Miami, Florida 33156-7815
                    Phone: (305) 670-8282; Facsimile: (305) 670-8989
23

24          Ms. Naud has knowledge of the claims presented in the Complaint, the business and

25   business practices of the Plaintiffs, the I/O and Terms and Conditions which governed the
26
     relationship between the Plaintiff and the Defendant, all aspects of the litigation in Florida which
27
     gave rise the Plaintiffs’ claims against the Debtor and the fraud investigation launched by San
28
     Diego law enforcement and the San Diego District Attorney’s office regarding the Plaintiffs’

     DEFENDANT'S DISCLOSURES PURSUANT TO FEDERAL RULE OF BANKRUPTCY PROCEDURE, RULE
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1    fraudulent business practices which also gave rise to litigation in Florida. Ms. Naud has
2
     discoverable information regarding fraudulent or unethical marketing practices by Affiliati,
3
     Sonny Palta and their publishers which caused Fitcrew and, consequently the Debtor, to become
4
     insolvent. Ms. Naud has knowledge of the business practices of FitcrewUSA, Ship Plus Logistics
5

6    and related companies, and to some extent the interplay between advertising, marketing, sales,

7    merchant services and fulfillment. Ms. Naud has knowledge of loans and/or private mortgages
8
     Debtor took out from Third-Parties to purchase a home and fund litigation defense and loans he
9
     repaid.
10
            3.      PATRICK MERRIGAN
11
                    The Tax Consultants,
12                  14081 Yorba Street, Suite 214,
                    Tustin, CA 92780,
13                  Ph. (714) 361-9580
14
            Mr. Merrigan was the accountant/bookkeeper for several of the businesses owned or
15
     operated by the Defendant. He may have discoverable information regarding the Defendant’s
16
     financial history as it relates to any of the related entities identified in the Complaint.
17

18          4.      DAMON MOSLER, Assistant District Attorney
                    San Diego County District Attorney’s Office
19                  San Diego, Hall of Justice, Seventh Floor
                    330 W. Broadway
20
                    San Diego, CA 92101
21
            Mr. Mosler may have discoverable information regarding fraudulent or unethical
22
     marketing practices by Affiliati, Sonny Palta and their publishers which caused Fitcrew and,
23

24   consequently the Debtor, to become insolvent.

25
            5.      NATE LIND
26
                    L/K/A 2500 Parkway Ave NE
27                  Suite 200
                    Rio Rancho NM 87144
28                  505-697-1995


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1           Mr. Lind was retained by Plaintiffs as an internet marketing expert in the Florida litigation.
2
     He may have discoverable information or evidence of fraudulent or unethical marketing practices
3
     by Affiliati, Sonny Palta and their publishers which caused Fitcrew and, consequently the Debtor,
4
     to become insolvent.
5

6           6.      JONATHAN E. HOCHMAN
                    615 W. Johnson Ave, Suite 202
7                   Cheshire, CT 06410-4532
                    jonathan@hochmanconsultants.com
8
                    Tel +1-203-699-2628
9
            Mr. Hochman was retained by Fitcrew and Debtor as an internet marketing expert in the
10
     Florida litigation. He may have discoverable information or evidence of fraudulent or unethical
11

12   marketing practices by Affiliati, Sonny Palta and their publishers which caused Fitcrew and,

13   consequently the Debtor, to become insolvent.
14
            7.      VANITA SPAULDING, MBA, CFA, ASA
15                  Spaulding Financial LLC
                    840 Apollo St. Suite 100
16                  El Segundo, CA 90245
                    Cell: (310) 391-0960
17
                    Email: vanita@cogentvaluation.com
18
            Ms. Spaulding was retained by Fitcrew and Debtor to calculate damages in the Florida
19
     litigation. She may have discoverable information or evidence of fraudulent or unethical
20

21   marketing practices by Affiliati, Sonny Palta and their publishers which caused Fitcrew and,

22   consequently the Debtor, to become insolvent. Plaintiff are in possession of her damages report
23
     indicating that on revenues of $6,887,866, after millions of dollars in extraordinary chargeback,
24
     void, cancellation, refund, back fees, gateway fees and customer call center costs as a result of
25
     Allifiati and Palta’s fraudulent practices, Fitcrew actually lost $879,549.
26

27

28



     DEFENDANT'S DISCLOSURES PURSUANT TO FEDERAL RULE OF BANKRUPTCY PROCEDURE, RULE
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1           8.      SANJAY KUMAR PALTA
                    The UPS Store1
2
                    1521 Alton Rd, Box 160
3                   Miami Beach, Florida 33139

4           Mr. Palta may have discoverable information or evidence of fraudulent or unethical
5
     marketing practices by Affiliati and its publishers which caused Fitcrew and, consequently the
6
     Debtor, to become insolvent. Specifically, with regard to his and Affiliati’s primary affiliate
7
     Alexander Podgurski (and others) who, while working for Affiliati and Palta on the Fitcrew
8

9    campaign – charges for which were guaranteed by the Debtor, secretly engaged in an illegal

10   internet based advertising scheme utilizing stolen or fake Facebook accounts to promote
11
     advertisements that would direct consumers to websites and advertorial pages for products
12
     allegedly promoted by medical professionals and celebrities but, in reality, the endorsements were
13
     fake; the aforementioned medical professionals and celebrities did not actually endorse the
14

15   products or authorize the use of their likeness in these deceptive advertisements.

16          9.      Ruben E. Socarras
                    Chane Socarras, PLLC
17
                    327 Plaza Real Blvd., Suite 217
18                  Boca Raton, FL 33432
                    Ph. (561) 609-3190
19
            Mr. Socarras may have discoverable information or evidence of fraudulent or unethical
20

21   marketing practices by Affiliati, Sonny Palta and their publishers which caused Fitcrew and,

22   consequently the Debtor, to become insolvent. Specifically, Mr. Socarras made certain material
23
     misrepresentations to the Court and counsel in the Florida litigation which allowed the Plaintiffs
24

25

26
            1
27               This is the address for Mr. Palta listed in the Plaintiffs’ Initial Disclosures, however,
     this is the UPS store mailbox that Affiliati lists as their “principal address.” Mr. Palta actually
28
     lives in a $12 million luxury estate in Santa Barbara, the address for which is: 1915 Las Tunas
     Rd, Santa Barbara, CA 93103.

     DEFENDANT'S DISCLOSURES PURSUANT TO FEDERAL RULE OF BANKRUPTCY PROCEDURE, RULE
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1    to obtain the judgment which forms the basis for their claim in the main bankruptcy case.
2
     B.     DISCLOSURE OF DOCUMENTS
3
            Pursuant to Fed. R. Civ. P. 26(a)(1)(A)(ii), The only presently known documents that the
4
     disclosing party may use to support its defenses, unless solely for impeachment, are as follows:
5

6    The Florida litigation documents and orders in District Court, SD FL Case No.: 16-CV-24097-

7    UU) (“Affiliati 1”) and (U.S. District Court, SD FL Case No.: 18-CV-22576-Cooke) (“Affiliati
8
     2”), which are available online through Pacer (and which Plaintiffs have copies of) may be used
9
     to support Defendant's defenses in this adversary action. In addition, most, if not all of the
10
     accounting records for the Debtor, his companies and related companies has been produced by
11

12   the Debtor (through Debtor’s counsel, Peter Lively) to the Plaintiffs in the main bankruptcy. The

13   expert reports generated by Hochman and Spaulding are available and the declaration and
14
     supplemental declaration of Damon Mosler are also in the possession of the Plaintiffs. Most of
15
     the reconciled books and records for the Debtor or related companies are either in the possession
16
     of the Patrick Merrigan or Christine Naud.
17

18          Defendant may rely on documents, photographs, videos and audio files produced by the

19   San Diego District Attorney’s office pursuant to a subpoena in the Florida litigation – in support
20
     of their defenses. Those documents are also in the possession of the Plaintiffs.
21
     C.     A COMPUTATION OF CATEGORIES OF DAMAGES
22
            Pursuant to Fed. R. Civ. P. 26(a)(1)(A)(iii), Defendant hereby calculates his damages as
23

24   follows:

25          1.     Defendant seeks no damages except to the extent that attorney's fees or costs are
26
     awardable.
27
     D.     INSURANCE AGREEMENTS
28
            Pursuant to Fed. R. Civ. P. 26(a)(1)(A)(iv), Defendant discloses that there are no insurance

     DEFENDANT'S DISCLOSURES PURSUANT TO FEDERAL RULE OF BANKRUPTCY PROCEDURE, RULE
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1    policies under which any insurance business may be liable to satisfy all or part of a possible
2
     judgment in this action or to indemnify or reimburse for payments made to satisfy the judgment.
3
                                                REINER & REINER, P.A.
4                                               Counsel for Defendant Joseph Wanamaker
                                                9100 South Dadeland Boulevard, Suite 901
5
                                                Miami, Florida 33156-7815
6                                               Tele.: (305) 670-8282; Fax: (305) 670-8989
                                                dpr@reinerslaw.com;eservice@reinerslaw.com
7

8

9                                               By: _________________________________
                                                DAVID P. REINER, II; FBN 416400
10                                              (Admitted Pro Hac Vice)
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     DEFENDANT'S DISCLOSURES PURSUANT TO FEDERAL RULE OF BANKRUPTCY PROCEDURE, RULE
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1                                   CERTIFICATE OF SERVICE
2
             I HEREBY CERTIFY that on October 21, 2022, I electronically filed the foregoing
3    document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document
     is being served this day on all counsel of record or pro se parties either via transmission of
4    Notices of Electronic Filing generated by CM/ECF or in some other authorized manner for those
     counsel or parties who are not authorized to receive electronically Notices of Electronic Filing.
5

6
                                                 By: _________________________________
7                                                DAVID P. REINER, II; FBN 416400
                                                 (Admitted Pro Hac Vice)
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